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 4   Oakland, CA 94607-3627
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 5
     Counsel for Defendant DEFRENCHI
 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )              No. CR-05-00232 MJJ
                                           )              (related case CR-05-00231)
12                     Plaintiff,          )
                                           )              STIPULATION AND [PROPOSED]
13   vs.                                   )              ORDER CONTINUING SENTENCING
                                           )              DATE
14   BEAU DEFRENCHI,                       )
                                           )              Current Date: January 20, 2006
15                     Defendant.          )              Requested Date: March 9, 2006
     _____________________________________ )
16

17            Beau Defrenchi plead guilty in this above-captioned matter on October 14, 2005, and on

18   that date this Court set the matter for sentencing on January 20, 2006. Mr. Defrenchi’s co-

19   defendant, Adrien Olivas, and the defendant in the related case, Ryan Carrol, are scheduled to be

20   sentenced on March 17, 2006. There will be overlapping issues of restitution regarding the three

21   defendants, and the Federal Public Defender’s Office (counsel for Mr. Defrenchi) will be taking

22   the lead on investigating and resolving those issues. In order to streamline and coordinate this

23   process, Mr. Defrenchi respectfully requests that his sentencing be continued to one week prior to

24   the other defendants, so that the timing in the two cases is essentially the same. Counsel for the

25   government does not object to the continuance. This is the first requested continuance of Mr.

26   Defrenchi’s sentencing.

     Stip. to Continue Sentenc ing (D efrenchi)
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 1            Accordingly, it is stipulated and agreed that sentencing for Beau Defrenchi shall be

 2   continued from January 17, 2006 to March 9, 2006, at 2:00 p.m. in this Court’s San Francisco

 3   courtroom.

 4   I hereby attest that I have on file all holograph signatures for any signatures indicated by a

 5   “conformed” signature (/S/) within this efiled document.

 6                                                  /S/
     Date: 12/20/05                                 __________________________
 7                                                  Rebecca Sullivan Silbert
                                                    Assistant Federal Public Defender
 8                                                  Counsel for Mr. Defrenchi

 9

10                                                  /S/
     Date: 12/27/05                                 __________________________
11                                                  Kirstin Ault
                                                    Assistant United States Attorney
12

13

14                                                 ORDER

15            For the above reasons and for good cause shown, it is HEREBY ORDERED that

16   sentencing for Beau Defrenchi in the above-captioned matter be continued to Thursday, March 9,
      Friday, March 10, 2006 at 2:30 p.m. in Oakland, Courtroom #4.
17   2006 at 2:00 p.m. in this Court’s San Francisco courtroom.

18

19   SO ORDERED

20
     Date: 2/28/2006                                ______________________________
21                                                  Honorable Martin J. Jenkins
                                                    United States District Court
22

23

24

25

26

     Stip. to Continue Sentenc ing (D efrenchi)
     05-00232 M JJ                                     2
